8/7/22, 9:33 AM                                 Case 5:21-cv-00616-JWH-SP Document      183-45
                                                                           NETR Online •Los         FiledRegistrar-Recorder
                                                                                            Angeles County 09/07/22 Page    Index 1 of 1 Page ID
                                                                                      #:2684
                                                                                                                                                                                                                             Aug 7 2022, 9:33:09 AM

                         Search                               Address:
                        Property Owners,                      Enter Address                                                          Start Search
 Sign Up (/register)
                         Deeds & More                                                                                        Powered By

                         (https://freestar.com/?
                       Search the Los Angeles County Registrar-Recorder Index
                       utm_campaign=branding&utm_medium=banner&utm_source=netronline.com&utm_content=netronline_728x90_ATF)
                           Database current to 2022-07-27
   Search (/search)        About the Los Angeles County Recorded Document Search


                                          Date Range          From:                                                                       To:
        
  Pricing (/pricing)                                            01/01/1977                                                                  07/27/2022

                                                                                                                                                                                                           (https://freestar.com/?
                                             Company
                                                                                                                                                                                                          utm_campaign=branding&utm_medium=bann
        
 Support (/support)                             Name            Artur                                                       Elizarov

                                              Signator           grantor                                      grantee

                                     or                                                                                         or


                                                   AIN                                                                               Document #

                                                                                                                                                                                                           (https://freestar.com/?
                                                                                                                                                                                                          utm_campaign=branding&utm_medium=bann

                                                                Search                                    24 documents found


                                                                                                                1     2     3


                          Doc #                                     Date              Type                       Grantors                                                Grantees


                          20180192145                               2018-02-27        SUBSTITUTION               ELIZAROV ARTUR                                          LOANCARE LLC
                          (/preview/20180192145/1)                                    TRUSTEE                    MORTGAGE ELECTRONIC REGISTRATION SYSTEMS
                                                                                       Add to cart               INC
                                                                                                                 STEARNS LENDING LLC


                          20180159364                               2018-02-16        DEED                       ELIZAROV ARTUR                                          GABRIELYAN HAKOB B
                          (/preview/20180159364/1)                                     Add to cart


                          20180060936                               2018-01-19        DEED                       ELIZAROV ARTUR                                          CAO THU
                          (/preview/20180060936/1)                                     Add to cart                                                                       SOLOMON AMAN DEMOZ



                          20171402321                               2017-12-05        NOTICE ACTION              ELIZAROV ARTUR                                          ALEPYAN ZABEL ISABEL
                          (/preview/20171402321/1)                                     Add to cart


                          20171178616                               2017-10-16        TAX LIEN                   ELIZAROV ARTUR                                          UNITED STATES INTERNAL REVENUE
                          (/preview/20171178616/1)                                     Add to cart                                                                       SERVICE



                          20171141626                               2017-10-05        ASSIGNMENT OF              ELIZAROV ARTUR                                          SPANO CRAIG W
                          (/preview/20171141626/1)                                    RENTS                      ELIZAROV ARTUR                                          SPANO CRAIG W
                                                                                       Add to cart               ELIZAROV ARTUR                                          SPANO CRAIG W
                                                                                                                 ELIZAROV ARTUR                                          SPANO CRAIG W


                          20170390664                               2017-04-10        TAX LIEN                   ELIZAROV ARTUR                                          CALIFORNIA STATE FRANCHISE TAX
                          (/preview/20170390664/1)                                     Add to cart               ELIZAROV ARTUR                                          CALIFORNIA STATE FRANCHISE TAX
                                                                                                                 ELIZAROV ARTUR                                          CALIFORNIA STATE FRANCHISE TAX


                          20170211561                               2017-02-22        DEED                       ALEKSEYEFF ILYA                                         ELIZAROV ARTUR
                          (/preview/20170211561/1)                                     Add to cart               ELIZAROV ARTUR



                          20160992971                               2016-08-22        SUBSTITUTION               ELIZAROV ARTUR                                          LOANCARE LLC
                          (/preview/20160992971/1)                                    TRUSTEE                    MORTGAGE ELECTRONIC REGISTRATION SYSTEMS
                                                                                       Add to cart               INC
                                                                                                                 STEARNS LENDING LLC




                          20160816853                               2016-07-13        DEED                       ELIZAROV ARTUR                                          GREENGER ALON
                          (/preview/20160816853/1)                                     Add to cart                                                                       GREENGER MELINDA




                                                                                   Find Foreclosures by Zip Code:                                    Find!

                                           *The data presented on this website was gathered from a variety of government sources. Nationwide Environmental Title Research, LLC (NETR) makes
                                                     no warantees expressed or implied as to the accuracy or completeness of this data. This data is not to be construed as legal advice.

                                          Home (http://www.netronline.com/) | Privacy Policy (http://www.netronline.com/privacy_policy.php) | Real Estate Calculators
                                  (http://www.netronline.com/calculators.php) | Advertise (https://orders.freestar.io/request-access?publisher=fae87a20-a1cc-11e9-a11d-
                                             714f7ce21901&publisherName=Netronline) | Site Map (http://www.netronline.com/site_map.php) | Contact Support
                                                                                      (http://www.netronline.com/suggestions.php?s=pr)

                                                                                     Copyright 1999-2022 Nationwide Environmental Title Research, LLC




//freestar.com/?
tm_source=netronline.com&utm_content=netronline_728x90_Adhesion)                             Free Public Records Search
                                                                                              First Name                  Last Name              State                   Search »
                                                                                                                                                                                                                          Exhibit Y
https://datastore.netronline.com/losangeles                                                                                                                                                                                                           1/1
